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                        IN THE UNITED STATES DISTRICT COURT                       FEB 2. 7 2018
                           FOR THE DISTRICT OF NEW JERSEY
                                                                              AT 8:30               M
                                                                                 WILLIAM T. WALSH
                                                                                      CLEAi<
  C. TATE GEORGE,
                                                     HONORABLE ANNE E. THOMPSON
                        Petitioner,

         v.                                                       Civil Action
                                                               No. 17-2641 (AET)
  UNITED STATES OF AMERICA,

                        Respondent.                                  ORDER



       This matter having come before the Court on Petitioner C. Tate George's Motion for

Judgment on the Pleadings (ECF No. 29) and Motion Under Rule 1003 (ECF No. 34);

Respondent having filed no opposition to the motion for judgment on the pleadings; and the

Court having considered the submissions of the Petitioner; and for the reasons explained in the




DENIED; and it is further

       ORDERED that Petitioner's Motion Under Rule 1003 (ECF No. 34) is DENIED

WITHOUT PREWDICE; and it is finally

       ORDERED that the Clerk shall serve a copy of this Order and Opinion on Petitioner by

regular mail.



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                                                    ANNE E. THOMPSO~,.rr
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                                                    U.S. District Judge
